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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                        Case No: 17-80203 CR Dimitrouleas

  UNITED STATES OF AMERICA
                    Plaintiff
  vs.

  JOHNNY BENJAMIN, Jr.
                       Defendant
  ________________________________/



                           NOTICE OF FILING EXHIBITS

  COMES the Defendant, by and through Woodward and Reizenstein, Philip L.
  Reizenstein, Esq. and hereby files this notice of filing exhibit numbers 1-23 which
  were admitted at sentencing.
   Ex #
   1           Picture of Plaque
   2           Picture of appreciation Gator award
   3           Picture of award
   4           Picture of sponsored team
   5           Picture of sponsored team 2003
   6           Picture of sponsored team 2007
   7           Picture of sponsored team 2007
   8           Picture of sponsored team 2008
   9           Picture of sponsored team 2009
   10          Indian River Memorial Hospital Article/Ad
   11          Newspaper article
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   12         Picture of Women’s Lacrosse Fl Champion team 2007
   13         Picture of Athlete and Thank you note
   14         Picture of Woman’s Lacrosse Team
   15         Picture of Thank You Board from Lacrosse Team
   16         Your Doctor is A teacher Plaque
   17         Thank you Letter
   18         Thank You Letter
   19         Thank You Letter
   20         Patient Thank You Letter
   21         Picture Of Defendant with Graduates
   22         Picture of Defendant at charity event
   23         Picture Of Defendant at charity event




              Respectfully Submitted,

                                S/Philip L. Reizenstein
                            Philip L. Reizenstein, Esq.
                                Florida Bar# 634026
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                           Philip@Miamicriminallaw.net

                             CERTIFICATE OF SERVICE
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  I HEREBY CERTIFY that on the 19th day of July, 2018, I electronically
  filed the foregoing document with the Clerk of the Court using CM/ECF. I also
  certify that the foregoing is being served this day on all counsel of record listed in
  the Service List below via transmission of Notices of Electronic Filing generated
  by CM/ECF or in some other authorized manner for those counsel or parties who
  are not authorized to receive electronically Notices of Electronic Filing.



                                S/Philip L. Reizenstein
                               Philip L. Reizenstein, Esq.
  Service List:
  United States Attorneys Office
